                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


DRAFTKINGS INC.,


                                  Plaintiff,

         v.                                                  Civil Action No. 1:24-cv-10299-JEK

MICHAEL HERMALYN

                                  Defendant.


                        MOTION FOR PRELIMINARY INJUNCTION

         Pursuant to Federal Rule of Civil Procedure 65, DraftKings Inc. (“DraftKings” or the

“Company”) respectfully moves for the issuance of a preliminary injunction finding that:

    1.        There is a likelihood of success on the merits for all of DraftKings’ claims in the

              Verified Complaint;

    2.        DraftKings will be irreparably harmed in the absence of a preliminary injunction

              restraining and enjoining Defendant as set forth below, and monetary damages

              would provide inadequate relief;

    3.        The balance of equities favors granting a preliminary injunction restraining and

              enjoining Defendant as set forth below;

    4.        A preliminary injunction restraining and enjoining Defendant as set forth below is

              in the public interest;

    5.        During the six (6) month period prior to February 1, 2024, Defendant performed

              services and/or received Confidential Information 1 concerning the following

              aspects of DraftKings’ business: (i) FSC; (ii) Gaming; (iii) Marketplace;

              (iv) eCommerce; and (v) Media.


1
 All defined terms shall have the meaning ascribed to such terms in the [Proposed] Preliminary
Injunction filed contemporaneously herewith.
   6.     Section (g) of the Noncompetition Covenant extends the duration of Defendant’s

          non-competition obligations as set forth therein.

   7.     Pursuant to Section (f) of the Noncompetition Covenant and Section 9 of the

          Confidentiality Agreement, the internal substantive laws of Massachusetts govern

          those agreements.

   DraftKings further moves for the issuance of a preliminary injunction restraining and

enjoining Defendant from:

   a)     using or disclosing any of DraftKings’ Confidential Information.

   b)     moving, destroying, deleting, altering, or otherwise disposing of any files,

          documents, and digital media that contain any Confidential Information and/or that

          are derived from such information;

   c)     acting individually, or as an owner, shareholder, partner, employee, contractor,

          agent or otherwise, (1) providing any services to Fanatics relating to FSC, Gaming,

          Marketplace, eCommerce and/or Media and any type of ancillary service or product

          related to or connected with the foregoing; and/or (2) providing any services to

          Fanatics relating to any other aspect of the Business of DraftKings for which

          Defendant performed services and/or received Confidential Information at any time

          during the six (6) month period prior to February 1, 2024; and/or (3) committing a

          Threatened Breach of the obligations set forth in this paragraph;

   d)     directly or indirectly, either for himself or for any other person, partnership, legal

          entity, or enterprise, (i) soliciting or transacting business, or attempting to solicit or

          transact business with, any of DraftKings’ customers, clients, vendors or partners,

          or with any of DraftKings’ prospective customers, clients, vendors or partners about

          which Defendant learned Confidential Information or which Defendant had some




                                               -2-
            involvement or knowledge related to the Business of DraftKings; and/or

            (ii) committing a Threatened Breach of the obligations set forth in this paragraph.

    e)      directly or indirectly, either for himself or for any other person, partnership, legal

            entity, or enterprise: (i) soliciting, in person or through supervision or control of

            others, an employee, advisor, consultant or contractor of DraftKings for the purpose

            of inducing or encouraging the employee, advisor, consultant or contractor to leave

            his or her relationship with DraftKings or to change an existing business

            relationship to the detriment of DraftKings; (ii) hiring away an employee, advisor,

            consultant or contractor of DraftKings; (iii) helping another person or entity hire

            away a DraftKings employee, advisor, consultant or contractor; and/or

            (iv) committing a Threatened Breach of the obligations set forth in this paragraph.

    DraftKings respectfully requests that the Court’s preliminary injunction pertaining to

paragraphs (a)-(b) above shall remain in effect, and that the Court’s preliminary injunction

pertaining to paragraphs (c)-(e) shall remain in effect for twelve (12) months from the date of

the Court’s preliminary injunction.

         As set forth more fully in DraftKings’ Memorandum of Law, Affidavits, and Exhibits, 2

among other things, Defendant misappropriated DraftKings’ trade secrets and confidential

information in violation of his contractual obligation not to use or disclose DraftKings’

Confidential Information without authorization as well as federal and Massachusetts law,

breached his contractual obligation not to compete against DraftKings, and breached his

contractual obligation not to solicit DraftKings’ employees, customers, and partners. In the

absence of a preliminary injunction, DraftKings will continue to suffer immediate and


2
 DraftKings provides detailed descriptions of certain relevant documents in the accompanying
Memorandum of Law and Affidavits, but is not filing those documents as exhibits because they
are voluminous and contain DraftKings’ confidential and highly sensitive business and trade
secret information. To the extent the Court’s consideration would benefit from review of such
documents, DraftKings stands ready to provide them to the Court in camera.


                                               -3-
irreparable harm. The balance of equities favors entering a preliminary injunction.           A

preliminary injunction is in the public interest.

       In support of this motion, DraftKings relies upon the accompanying Memorandum of

Law, Affidavits, and Exhibits.

       DraftKings reserves all of its rights to pursue all available relief from Defendant,

including its right to seek, among other things, reasonable attorneys’ fees, costs, and expenses

arising from the successful enforcement of the Noncompetition Covenant and Confidentiality

Agreement, and hereby waives none.



 Dated: March 14, 2024                        Respectfully submitted,

                                              /s/ Andrew S. Dulberg
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                                                -4-
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 -5-
                               CERTIFICATE OF SERVICE

       I, Andrew S. Dulberg, counsel for Plaintiff, hereby certify that on March 14, 2024, I

caused the foregoing document to be electronically filed with the Clerk of the Court using the

CM/ECF system, which will simultaneously serve notice of such filing to counsel of record to

their registered electronic mail addresses.



                                                    /s/ Andrew S. Dulberg
                                                    Andrew S. Dulberg




                              RULE 7.1(A)(2) CERTIFICATE

       I, Christine Demana, hereby certify that on March 14, 2024, counsel for DraftKings

conferred with counsel for the Defendant, and were unable to resolve or narrow the issue.

                                                    /s/ Christine Demana
                                                    Christine Demana




                                              -6-
